      Case 8-18-72852-reg       Doc 29     Filed 09/13/18     Entered 09/13/18 16:56:36


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Zoltan Simon, II₊                 PLEASE SEND CORRESPONDENCE
Zubin Haghi *                        TO THE MAHWAH OFFICE
                                                                                ** Also Member of NY & PA
                                                                                       ₊ Member of NY Only
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                                                    September 13, 2018


Clerk of the United States Bankruptcy Court
Eastern District of New York
290 Federal Plaza
Central Islip, NY 11722

Re:     Case Number 18-72852-reg

        Adjournment Request


Dear Clerk,

        Please allow this correspondence to serve as our formal request to adjourn the upcoming
status conference and the hearings for the pending Motion to Employ and Motion to Set Proof of
Claim Date currently scheduled for September 17, 2018 to September 24, 2018 at 1:30 pm.

       This adjournment will allow the conference and aforementioned pending motions to be
heard at the same time as Rushmore Loan Management's pending motion for Termination of
Automatic Stay, therefore serving the interests of judicial economy.

        Thank you very much for the Court's consideration of this request.


                                                            Very truly yours,

                                                            /s/ John P. Fazzio
                                                            JOHN P. FAZZIO, ESQ.
                                                            FOR THE FIRM




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